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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )      1:10-CR-00361-LJO
                                         )
12               Plaintiff,              )      FINAL ORDER OF FORFEITURE
                                         )
13        v.                             )
                                         )
14   TERRY LEE SCHNEIDER II,             )
                                         )
15                                       )
                 Defendant.              )
16                                       )
                                         )
17
18        WHEREAS, on October 26, 2011, this Court entered a Preliminary
19   Order of Forfeiture pursuant to the provisions of 18 U.S.C. § 2253,
20   based upon the plea agreement entered into between plaintiff and
21   defendant Terry Lee Schneider II forfeiting to the United States the
22   following property:
23             a.     Toshiba laptop computer seized from
                      defendant by Law enforcement on or about
24                    January 27, 2010;
25             b.     Compact discs, external hard drives, or
                      other storage devices containing visual
26                    depictions of minors engaged in sexually
                      explicit conduct and seized by law
27                    enforcement on or about January 27, 2010;and
28             c.     Canon camcorder obtained by law enforcement
                      on or about September 20, 2010.


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 1            AND WHEREAS, beginning on October 29, 2011, for at least 30
 2   consecutive days, the United States published notice of the Court’s
 3   Order of Forfeiture on the official internet government forfeiture
 4   site www.forfeiture.gov. Said published notice advised all third
 5   parties of their right to petition the Court within sixty (60) days
 6   from the first day of publication for a hearing to adjudicate the
 7   validity of their alleged legal interest in the forfeited property;
 8            AND WHEREAS, the Court has been advised that no third party has
 9   filed a claim to the subject property and the time for any person or
10   entity to file a claim has expired.
11            Accordingly, it is hereby ORDERED and ADJUDGED:
12            1.      A Final Order of Forfeiture shall be entered forfeiting to
13   the United States of America all right, title, and interest in the
14   above-listed property pursuant to 18 U.S.C. § 2253, to be disposed of
15   according to law, including all right, title, and interest of Terry
16   Lee Schneider II.
17            2.      All right, title, and interest in the above-listed property
18   shall vest solely in the name of the United States of America.
19            3.      The Federal Bureau of Investigation shall maintain custody
20   of and control over the subject property until it is disposed of
21   according to law.
22   IT IS SO ORDERED.
23   Dated:        February 10, 2012          /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
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                                              2                      Final Order of Forfeiture
